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 6   Fax: (702) 999-3501
 7   Attorneys for Defendants
 8
                                  UNITED STATES DISTRICT COURT
 9                                     DISTRICT OF NEVADA
10

11    FEDERAL TRADE COMMISSION,                        Case No. 2:16-cv-02022-GMN-VCF
12           Plaintiff,
13           v.                                       STIPULATION AND ORDER TO
                                                      EXTEND RESPONSE DEADLINE
14    OMICS GROUP INC., et al.,
15           Defendants.
16

17          Defendants, OMICS GROUP INC., IMEDPUB LLC, CONFERENCE SERIES LLC,

18   and SRINUBABU GEDELA, by and through counsel of record, D. Neal Tomlinson and

19   Kristina R. Kleist, and Plaintiff, FEDERAL TRADE COMMISSION, by and through counsel of

20   record, Gregory A. Ashe and Michael E. Tankersley, hereby agree and stipulate as follows:

21          1. Plaintiff filed a Motion for Sanctions and Motion to Compel on May 9, 2018 (Dkt.

22                Nos. 92, 94), responses due on May 23, 2018.

23          2. This Court granted stipulations for extensions of time (Dkt. Nos. 98 and 100)

24                extending the due date for the response to June 8, 2018.

25          3. Defense counsel has been dealing with multiple family medical issues that have

26                required counsel to be out of the office, and additional time is needed to confer with
27                Defendants and respond to Plaintiff’s Motions.

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 1           4. In addition, additional time is necessary due to the fact that all Defendants are

 2              located in India, and that language, time zones and geographical barriers have

 3              presented significant challenges in that defense counsel has encountered difficulty

 4              explaining and communicating with the Defendants regarding the many issues and

 5              complexities of the pending motions.

 6           5. Plaintiff’s counsel has agreed to extend the response date to June 22, 2018.

 7           6. This Stipulation is being made in good faith between and at the request of both

 8              parties, and not for purposes of delay.

 9   HYPERION ADVISORS                                    FEDERAL TRADE COMMISSION
10   Dated this 7th day of June, 2018.                    Dated this 7th day of June, 2018.
11    /s/ D. Neal Tomlinson                                /s/ Gregory A. Ashe
     D. NEAL TOMLINSON                                    ALDEN F. ABBOTT
12                                                        General Counsel
     Nevada Bar No. 06851
     KRISTINA R. KLEIST                                   GREGORY A. ASHE
13                                                        MICHAEL E. TANKERSLEY
     Nevada Bar No. 13520
                                                          Federal Trade Commission
14   3960 Howard Hughes Parkway, Suite 500                600 Pennsylvania Avenue NW
     Las Vegas, Nevada 89169                              Washington, DC 20850
15
     Attorneys for Defendants                             Attorneys for Plaintiff
16

17                                               ORDER
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             Pursuant to the stipulation of the parties, the deadline for Defendants to file their
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     responses to the Motion for Sanctions and Motion to Compel is hereby extended to June 22,
20
     2018.
21
     IT IS SO ORDERED.
22
                                      June
                         11th day of ________________________,
             Dated this _____                                  2018.
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25                                                          United States Magistrate Judge
     Respectfully submitted by:
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     HYPERION ADVISORS
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     /s/ D. Neal Tomlinson
 1   D. NEAL TOMLINSON
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 2   KRISTINA KLEIST
     Nevada Bar No. 13520
 3
     Attorneys for Defendants
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                                     CERTIFICATE OF SERVICE
 1

 2          The undersigned hereby certifies that on June 7, 2018, a true and correct copy of the
 3   foregoing STIPULATION AND [PROPOSED] ORDER TO EXTEND RESPONSE
 4   DEADLINE was filed electronically with the United States District Court for the District of
 5   Nevada using the CM/ECF system, which sent notification to all parties of interest participating
 6   in the CM/ECF system.
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 9                                                         /s/ D. Neal Tomlinson
                                                           Attorney for Defendants
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